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                        Case No. 22-11232-AA

        IN THE UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT

 DAVID WILLIAMS, individually and on behalf of all others similarly
situated, CAROLL ANGLADE, individually and on behalf of all others
 similarly situated, HOWARD CLARK, THOMAS MATTHEWS, and
                       MARTIZA ANGELES,
                        Plaintiffs-Appellees,
                                  v.
      RECKITT BENCKISER LLC and RB HEALTH (US) LLC,
                       Defendants-Appellees,

                        THEODORE H. FRANK,
                          Objector-Appellant.
            Appeal from the United States District Court
                for the Southern District of Florida
                        No. 1:20-cv-23564-MGC

 Appellant Theodore H. Frank’s Motion for Leave of Court for
   Counsel to Bring Electronic Devices to Oral Argument

                                   Theodore H. Frank
                                   John M. Andren
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                                   Theodore H. Frank
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     Certificate of Interested Persons and Corporate Disclosures

       Under Cir. R. 28-1(b) and Fed. R. App. P. 26.1, Theodore H. Frank
declares that he is an individual and, as such, is not a subsidiary or

affiliate of a publicly owned corporation and there is no publicly held
corporation that owns ten percent or more of any stock issued by him.
       Under Cir. R. 28-1(b) and Cir. R. 26.1-2, the following trial judges,

attorneys, persons, association of persons, firms, partnerships, and
corporations are believed to have an interest in the outcome of this case
or appeal:

1.     Andren, John M., Hamilton Lincoln Law Institute, Attorney for
       Objector-Appellant
2.     Angeles, Martiza, Plaintiff-Appellee

3.     Anglade, Caroll, Plaintiff-Appellee
4.     Barbat Mansour & Suciu, PLLC, Attorneys for Plaintiffs-
       Appellees

5.     Becker & Poliakoff, PA, Attorneys for Amicus TINA
6.     Bednarz, M. Frank, Hamilton Lincoln Law Institute, Attorney for
       Objector-Appellant

7.     Biderman, David T., Perkins Coie LLP, Attorney for Defendants-
       Appellees
8.     Bilzin Sumberg Baena Price & Axelrod, LLP, Attorneys for

       Defendants-Appellees


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9.    Bursor & Fisher, PA, Attorneys for Plaintiffs-Appellees
10.   Bryson, Daniel K., Whitfield Bryson LLP, Attorney for Plaintiffs-

      Appellees
11.   Clark, Howard, Plaintiff-Appellee
12.   Cohen, Jonathan Betten, Milberg Coleman Bryson Phillips

      Grossman, PLLC, Attorney for Plaintiffs-Appellees
13.   Coleman, Gregory, Milberg Coleman Bryson Phillips Grossman,
      PLLC, Attorney for Plaintiffs-Appellees

14.   Cooke, The Honorable Marcia G., United States District Judge
15.   Dhillon Law Group, Inc., Attorneys for Objector-Appellant
16.   Drescher, IIana Arnowitz, Bilzin Sumberg Baena Price & Axelrod,

      LLP, Attorney for Defendants-Appellees
17.   Drozd, Dale A., United States District Court Judge
18.   Fisher, L. Timothy, Bursor & Fisher, PA, Attorney for Plaintiffs-

      Appellees
19.   Frank, Theodore H., Objector-Appellant and attorney for Objector-
      Appellant

20.   Geer, Martha, Milberg Coleman Bryson Phillips Grossman, PLLC,
      Attorney for Plaintiffs-Appellees
21.   Grosjean, The Honorable Erin, United States Magistrate Judge

22.   Goodman, The Honorable Jonathan, United States Magistrate
      Judge
23.   Greg Coleman Law PC, Attorneys for Plaintiffs-Appellees


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24.   Hamilton Lincoln Law Institute, Attorneys for Objector-Appellant
25.   Levin Papantonio Rafferty, Attorneys for Plaintiffs-Appellees

26.   Lustrin, Lori P., Bilzin Sumberg Baena Price & Axelrod, LLP,
      Attorney for Defendants-Appellees
27.   Matthews, Thomas, Plaintiff-Appellee

28.   Milberg Coleman Bryson Phillips Grossman, PLLC, Attorneys for
      Plaintiffs-Appellees
29.   Pallett-Vasquez, Melissa, Bilzin Sumberg Baena Price & Axelrod,

      LLP, Attorney for Defendants-Appellees
30.   Perkins Coie LLP, Attorneys for Defendants-Appellees
31.   Polenberg, Jon, Becker & Poliakoff, PA, Attorney for Amicus TINA

32.   RB Health (US) LLC, Defendant
33.   Reckitt Benckiser, LLC, Defendant (Stock ticker: “RBGLY”)
34.   Sarelson, Matthew Seth, Dhillon Law Group, Inc., Attorney for

      Objector-Appellant
35.   Schultz, Matthew D., Levin Papantonio Rafferty, Attorney for
      Plaintiffs-Appellees

36.   Shub, Jonathan, Shub Law Firm LLC, Attorney for Plaintiffs-
      Appellees
37.   Shub Law Firm LLC, Attorneys for Plaintiffs-Appellees

38.   Sipos, Charles C., Perkins Coie, LLP, Attorney for Defendants-
      Appellees
39.   Smith, Laura, Attorney for Amicus TINA


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40.   Soffin, Rachel, Milberg Coleman Bryson Phillips Grossman,
      PLLC, Attorney for Plaintiffs-Appellees Stanier, Lauren Watts,

      Perkins Coie, LLP, Attorney for Defendants-Appellees
41.   Suciu III, Nick, Milberg Coleman Bryson Phillips Grossman,
      PLLC, Attorney for Plaintiffs-Appellees

42.   Truth in Advertising, Inc., Amicus
43.   Wallace, Patrick M., Milberg Coleman Bryson Phillips Grossman,
      PLLC, Attorney for Plaintiffs-Appellees

44.   Whitfield Bryson LLP, Attorneys for Plaintiffs-Appellees
45.   Williams, David, Plaintiff-Appellee


Dated: February 8, 2023           /s/ Theodore H. Frank
                                  Theodore H. Frank
                                  John M. Andren
                                  HAMILTON LINCOLN LAW INSTITUTE
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                                  Theodore H. Frank




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Motion for Leave to Bring Electronic Devices to Oral Argument

      Appellant Theodore H. Frank respectfully moves this Court for an
order allowing him, as counsel, to bring electronic devices, namely his
personal iPad and smartphone, into the James L. King Courthouse for
the oral argument session on March 2, 2023, and to use the devices at
counsel table during oral argument.

      Mr. Frank and his firm maintain a paperless office, with reliance
solely on the use of digital documents. Counsel maintains the briefs,
appendices, and court transcripts on his iPad. He thus believes it would
be useful if he needs to cite a specific page in the record or trial transcript.
The use of his electronic devices at the counsel table at oral argument
will provide for a more efficient and effective argument, and will avoid
the need to wastefully generate paper copies of documents that are
currently maintained only electronically. The electronic devices are
relatively small and unobtrusive and will be kept in quiet mode and
airplane mode.
      Mr. Frank is a member of the District of Columbia, California, and
Illinois bars, as well as the Bar of this Court.

      This Court has previously routinely granted similar requests. E.g.,
Ilias v. USAA Gen. Indem. Co., No. 21-12586 (2022); American Builders
Co. v. Southern-Owners Ins. Co., No. 21-13496 (2022); In re: America-
CV Station Group, Inc., No. 21-13774 (2022).


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     Thus Appellant Theodore H. Frank respectfully requests this Court
allow him, as his own counsel, to bring his iPad and smartphone to court

for the purposes of oral argument on March 2, 2023.

Dated: February 8, 2023           Respectfully submitted,

                                  /s/ Theodore H. Frank
                                  Theodore H. Frank
                                  John M. Andren
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                                  Attorneys for
                                       Appellant Theodore H. Frank




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                      Certificate of Compliance

     1.    This motion complies with the type-volume limitation of Fed.
R. App. Proc. 27(d)(2)(A) because this brief contains 261 words, excluding

the parts of the brief exempted by 11th Cir. R. 32-4, as counted by
Microsoft Word.
     2.    This motion complies with the typeface requirements of Fed.

R. App. Proc. 32(a)(5) and the type style requirements of Fed. R. App.
32(a)(6) because this brief has been prepared in a proportionally spaced
typeface using Microsoft Word in 14-point Century Schoolbook font.


Executed on February 8, 2023            /s/ Theodore H. Frank
                                        Theodore H. Frank




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                            Certificate of Service

     I hereby certify that on this 8th day of February, 2023, I filed a true
and correct copy of the foregoing with the Clerk of the Court through the

CM/ECF system, which will send a notice of electronic filing to all counsel
of record in this matter.


                                    /s/ Theodore H. Frank
                                    Theodore H. Frank




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